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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                               )
                                                        )                8:06CR61
                        Plaintiff,                      )
                                                        )
        vs.                                             )                 ORDER
                                                        )
ROBERTO M. MORALES, SR.,                                )
                                                        )
                        Defendant.                      )


        This matter is before the court on the oral motion of W. Russell Bowie to withdraw as counsel
for defendant Roberto M. Morales, Sr. (Morales). Mr. Bowie will be leaving the private practice of the
law due to his recent appointment as a district judge for the State of Nebraska. Mr. Bowie was
appointed as counsel for the defendant pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the
Amended Criminal Justice Act Plan for the District of Nebraska. Substitute counsel will be appointed.


        IT IS ORDERED:
        1.      Mr. Bowie’s motion to withdraw is granted, and Mr. Bowie has leave to withdraw as
counsel for Morales.
        2.      Clarence E. Mock, P.O. Box 62, Oakland, NE 68045, (402) 685-5647, is appointed to
represent Morales for the balance of these proceedings. Mr. Mock shall file an appearance in this matter
forthwith.
        3.       Mr. Bowie shall forthwith provide Mr. Mock with the discovery materials provided the
defendant by the government and such other materials obtained by Mr. Bowie which are material to
Morales's defense.


        IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to Mr. Mock and the
Office of the Federal Public Defender.


        IT IS FURTHER ORDERED that Mr. Bowie shall submit his final CJA voucher to the office of
the Federal Public Defender within forty-five (45) days of this order.


        DATED this 7th day of March, 2006.
                                                        BY THE COURT:
                                                        s/Thomas D. Thalken
                                                        United States Magistrate Judge
